Case 1:17-cv-05221-LLS Document 204-4 Filed 03/15/23 Page 1 of 7




             EXHIBIT 4
      Case 1:17-cv-05221-LLS Document 204-4 Filed 03/15/23 Page 2 of 7




            “You Lost The Sweetest Boy” (1963) by Mary Wells (TSB)




        measure 1                             measure 2

LGO     1    &      2    &    3   &   4   &   1    &      2   &   3   &   4   &
        I               iii                   IV              V




        measure 1                             measure 2

TSB     1    &      2    &    3   &   4   &   1    &      2   &   3   &   4   &

        I               iii                   IV              V




        measure 1                             measure 2

TOL     1    &      2    &    3   &   4   &   1    &      2   &   3   &   4   &

        I               I/3                   IV              V
      Case 1:17-cv-05221-LLS Document 204-4 Filed 03/15/23 Page 3 of 7
                "Since I Lost My Baby" (1966) by Ray French (LMB)




       bar 1                                 bar 2

LGO    1       &   2    &    3   &   4   &   1       &   2   &   3   &   4   &

       I               iii                   IV              V




       bar 1                                 bar 2

LMB    1       &   2    &    3   &   4   &   1       &   2   &   3   &   4   &

       I               iii                   IV              V




       bar 1                                 bar 2

TOL    1       &   2    &    3   &   4   &   1       &   2   &   3   &   4   &

       I               I3                    IV              V
      Case 1:17-cv-05221-LLS Document 204-4 Filed 03/15/23 Page 4 of 7
                   "Georgy Girl" (1967) by 101 Strings Orchestra (GG)




       measure 1                              measure 2

LGO    1    &      2    &    3   &   4    &   1    &      2   &   3     &   4   &

       I               iii                    IV              V




       measure 1                              measure 2

GG     1    &      2    &    3   &   4    &   1    &      2   &   3     &   4   &

       I               iii                    IV              V




       measure 1                              measure 2

TOL    1    &      2    &    3   &   4    &   1    &      2   &   3     &   4   &

       I               I/3                    IV              V
      Case 1:17-cv-05221-LLS Document 204-4 Filed 03/15/23 Page 5 of 7



                   “I’ve Got Love on My Mind” (1977) by Natalie Cole (LMM)




       bar 1                                     bar 2

LGO    1       &     2    &    3   &    4    &   1       &   2   &   3       &   4   &

       I                 iii                     IV              V




       bar 1                                     bar 2

LMM    1       &     2    &    3   &    4    &   1       &   2   &   3       &   4   &

       I                 iii                     IV              V




       bar 1                                     bar 2

TOL    1       &     2    &    3   &    4    &   1       &   2   &   3       &   4   &

       I                 I3                      IV              V
      Case 1:17-cv-05221-LLS Document 204-4 Filed 03/15/23 Page 6 of 7



                       Phil Vassar (2000) “Six Pack Summer” (SPS)




       measure 1                                measure 2

LGO    1    &      2      &   3   &    4    &   1    &      2   &   3   &   4   &

       I                iii                     IV              V




       measure 1                                measure 2

SPS    1    &      2      &   3   &    4    &   1    &      2   &   3   &   4   &

       I                I/3                     IV              V




       measure 1                                measure 2

TOL    1    &      2      &   3   &    4    &   1    &      2   &   3   &   4   &

       I                I/3                     IV              V
   Case 1:17-cv-05221-LLS Document 204-4 Filed 03/15/23 Page 7 of 7




                   The Contours (1962) “Do You Love Me” (DYLM)




       measure 1                              measure 2

LGO    1    &       2    &    3   &   4   &   1    &      2   &   3   &   4   &

       I                iii                   IV              V



       measure 1                              measure 2

DYLM   1    &       2    &    3   &   4   &   1    &      2   &   3   &   4   &

       I                I/3                   IV              V



       measure 1                              measure 2

TOL    1    &       2    &    3   &   4   &   1    &      2   &   3   &   4   &

       I                I/3                   IV              V
